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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                   __________
                                                        DistrictDistrict
                                                                 of Columbia
                                                                         of __________

                  United States of America                           )
                             v.                                      )
         CHRISTOPHER MICHAEL ALBERTS
                                                                     )      Case No.
           DOB: xx/xx/xxx, PDID: xxx-xxx                             )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021                in the county of                                          in the
                       District of           Columbia           , the defendant(s) violated:

            Code Section                                                       Offense Description
40 U.S. Code § 5104(e)(1)(A)(i)                   did carry or have readily accessible, on the Grounds of the United States
                                                  Capitol Building, a firearm and ammunition, that is, a Taurus G2C, 9mm
                                                  handgun and 9mm caliber ammunition.




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




         ✔Continued on the attached sheet.
         ’


                                                                                               Complainant’s signature

                                                                                           MPD Officer Dallan Haynes
                                                                                                Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
Telephone (specify reliable electronic means).                                                              Digitally signed by G. Michael
                                                                                                            Harvey
                  01/07/2021                                                                                Date: 2021.01.07 13:41:51 -05'00'
Date:
                                                                                                  Judge’s signature

City and state:                         Washington, D.C.                           G. Michael Harvey, U.S. Magistrate Judge
                                                                                                Printed name and title



        Print                        Save As...                   Attach                                                      Reset
